      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 1 of 13




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 ASHLEY LEWIS, M.D.,

            Plaintiff,

            v.                                                Case No. 2:22-cv-02191

 UNIVERSITY OF KANSAS,
 SCHOOL OF MEDICINE,

            Defendant.



                               PROTECTIVE ORDER

       The parties agree that it may be necessary during discovery to disclose certain confidential

information relating to the subject matter of this action. They agree that certain categories of such

information should be treated as confidential, protected from disclosure outside this litigation, and

used only for purposes of prosecuting or defending this action and any appeals. The parties jointly

request entry of a protective order to limit the disclosure, dissemination, and use of certain

identified categories of confidential information.

       In support of the parties’ request, they assert that protection of the identified categories of

confidential information is necessary because Plaintiff has asserted claims of employment

discrimination, retaliation, and hostile work environment against Defendant, an educational

institution. Specifically, Plaintiff alleges she experienced discrimination and retaliation while she

was a resident in a post-graduate residency program for psychiatry. Accordingly, the parties

anticipate requests for and/or production of private and/or sensitive information in the course of

discovery, including non-public financial records (including tax records) of parties and nonparties;

medical information regarding patients treated during Plaintiff’s residency and/or regarding
                                             1
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 2 of 13




Plaintiff’s own mental state (as relevant to her damages); personnel information concerning

nonparties (including but not limited to performance evaluations, disciplinary information,

investigations, and/or documents containing private and personally identifiable information); and

education records concerning nonparties, including both residents and medical students, some of

which may be protected from disclosure by federal statute. The parties therefore assert that a

protective order is necessary to protect both parties and nonparties from unnecessary

embarrassment deriving from the public disclosure of highly personal, private, and sensitive

information in which the general public has minimal interest.

       For good cause shown under Fed. R. Civ. P. 26(c), the court grants the parties’ Joint Motion

for Entry of Protective Order (ECF 16) and enters the following Protective Order:

       1.      Scope.    All documents and materials produced in discovery, including initial

disclosures, discovery responses, deposition testimony and exhibits, and information derived

therefrom (hereinafter, collectively, “documents”), are subject to this Order concerning

Confidential Information as set forth below. As there is a presumption in favor of open and public

judicial proceedings in the federal courts, this Order will be strictly construed in favor of public

disclosure and open proceedings wherever possible.

       2.      Definition of Confidential Information. As used in this Order, “Confidential

Information” is defined as information that the producing party designates in good faith has been

previously maintained in a confidential manner and should be protected from disclosure and use

outside the litigation because its disclosure and use are restricted by statute or could potentially

cause harm to the interests of the disclosing party or nonparties. For purposes of this Order, the




                                                 2
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 3 of 13




parties will limit their designation of “Confidential Information” to the following categories of

information or documents:

               (a)    confidential financial records, including tax records;

               (b)    medical information and/or records concerning both parties and nonparties;

               (c)    personnel information and records concerning nonparties; and

               (d)    education records concerning nonparties, including those protected from
                      disclosure by the Family Educational Rights and Privacy Act (FERPA), 20
                      U.S.C. § 1232g; 34 CFR Part 99.

Information or documents that are available to the public may not be designated as Confidential

Information.

       3.      Form and Timing of Designation.             The producing party may designate

documents as containing Confidential Information and therefore subject to protection under this

Order by marking or placing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” (hereinafter, “the marking”) on the document and on all copies in a manner that will not

interfere with the document’s legibility. As used in this Order, “copies” includes electronic

images, duplicates, extracts, summaries, or descriptions that contain the Confidential Information.

The marking will be applied prior to or at the time the documents are produced or disclosed.

Applying the marking to a document does not mean that the document has any status or protection

by statute or otherwise except to the extent and for the purposes of this Order. Copies that are

made of any designated documents must also bear the marking, except that indices, electronic

databases, or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information




                                                3
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 4 of 13




are not required to be marked. By marking a designated document as confidential, the designating

attorney or party appearing pro se certifies that the document contains Confidential Information.

               (a)     FERPA compliance. To comply with FERPA, Defendant will redact

names and identifiers of all students other than Plaintiff prior to producing documents. If Plaintiff

believes particular education records other than hers, or identification of students, are relevant to

the claims or defenses of this case, she will identify the particular information at issue and the

parties will confer in good faith regarding the need for the information before filing any motion

with the court. FERPA allows for disclosure of education records, without the consent of the

student, upon a lawfully-issued subpoena or court order and reasonable notice to the affected

student prior to disclosure of any education records. If the parties reach agreement on the

disclosure of education records or identification of students other than Plaintiff, the information

will be produced after providing reasonable notice to the affected students.

       4.      Inadvertent Failure to Designate. Inadvertent failure to designate any document

or material as containing Confidential Information will not constitute a waiver of an otherwise

valid claim of confidentiality pursuant to this Order, so long as a claim of confidentiality is asserted

within fifteen (15) days after discovering the inadvertent failure.

       5.      Depositions. Deposition testimony will be deemed confidential only if designated

as such when the deposition is taken or within a reasonable time after receipt of the deposition

transcript. Such designation must be specific as to the portions of the transcript and/or any

exhibits to be protected.




                                                   4
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 5 of 13




       6.      Protection of Confidential Material.

               (a)    General Protections. Designated Confidential Information must be used

or disclosed solely for purposes of prosecuting or defending this lawsuit, including any appeals.

               (b)    Who May View Designated Confidential Information. Except with the

prior written consent of the designating party or prior order of the court, designated Confidential

Information may only be disclosed to the following persons:

               (1)    The parties, including their employees, agents, and representatives;1

               (2)    Counsel for the parties and their employees and agents;

               (3)    The court and court personnel, including any special master
                      appointed by the court, and members of the jury;

               (4)    Court reporters, recorders, and videographers engaged for deposi-
                      tions;

               (5)    Any mediator appointed by the court or jointly selected by the
                      parties;

               (6)    Any expert witness, outside consultant, or investigator retained
                      specifically in connection with this litigation, but only after such
                      persons have completed the certification contained in Attachment
                      A, Acknowledgment and Agreement to be Bound;

               (7)    Any potential, anticipated, or actual fact witness and his or her coun-
                      sel, but only to the extent such confidential documents or
                      information will assist the witness in recalling, relating, or
                      explaining facts or in testifying, and only after such persons have
                      completed the certification contained in Attachment A;


       1
          If the confidential documents contain highly sensitive trade secrets or other highly
sensitive competitive or confidential information, and disclosure to another party would result in
demonstrable harm to the disclosing party, the parties may stipulate or move for the establishment
of an additional category of protection (e.g., Attorneys’ Eyes Only) that prohibits disclosure of
such documents or information to that category or that limits disclosure only to specifically
designated in-house counsel or party representative(s) whose assistance is reasonably necessary to
the conduct of the litigation and who agree to be bound by the terms of the Order.

                                                5
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 6 of 13




                (8)     The author or recipient of the document (not including a person who
                        received the document in the course of the litigation);

                (9)     Independent providers of document reproduction, electronic discov-
                        ery, or other litigation services retained or employed specifically in
                        connection with this litigation; and

                (10)    Other persons only upon consent of the producing party and on such
                        conditions as the parties may agree.

                (c)     Control of Documents.          The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing Confidential

Information.

        7.      Filing Confidential Information.         A party that seeks to file any document

containing Confidential Information must take appropriate action to ensure that the document

receives proper protection from public disclosure, such as: (a) filing a redacted document with the

consent of the party who designated the document as confidential; or (b) seeking permission to file

the document under seal by filing a motion for leave to file under seal in accordance with D. Kan.

Rule 5.4.6. Nothing in this Order will be construed as a prior directive to allow any document to

be filed under seal. Merely designating information as confidential pursuant to this Order is

insufficient to satisfy the court’s requirements for filing under seal in light of the public’s qualified

right of access to court dockets. The parties understand that the requested documents may be filed

under seal only with the court’s permission after proper motion. If the motion is granted and the

requesting party is permitted to file the requested documents under seal, only counsel of record

and unrepresented parties will have access to the sealed documents. Pro hac vice attorneys must

obtain sealed documents from local counsel.




                                                   6
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 7 of 13




       8.      Challenging a Confidential Designation.             Any party may challenge the

designation of any material or document as Confidential Information. Before filing any motion

or objection to a confidential designation, though, the objecting party must meet and confer in

good faith to resolve the objection informally without judicial intervention. A party that elects to

challenge a confidentiality designation may file a motion that identifies the challenged material

and sets forth in detail the basis for the challenge. The burden of proving the necessity of a confi-

dentiality designation remains with the party asserting confidentiality. Until the court rules on

the challenge, all parties must continue to treat the materials as Confidential Information.

       9.      Clawing Back Privileged Information. The parties seek to produce documents

and materials without risking waiver of any attorney-client privilege, work product or other

applicable privilege or protection. As such, the parties will adhere to the following procedures

with regard to the production of privileged or protected material, should that occur:

               (a)     The production of documents (including both paper documents and

electronically stored information or “ESI”) subject to protection from discovery by the attorney-

client privilege and/or work product doctrine or by other protection shall not constitute a waiver

of any privilege or other protection, provided that the producing party notifies the receiving party,

in writing, of the production after its discovery of the same.

               (b)     If the producing party notifies the receiving party that privileged or

otherwise protected materials (hereinafter referred to as the “Identified Materials”) have been

produced, the Identified Materials and all copies of those materials shall be returned to the

producing party or destroyed or deleted, on request of the producing party. If the receiving party

has any notes or other work product reflecting the contents of the Identified Materials, the receiving


                                                  7
      Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 8 of 13




party will not review or use those notes or work product unless a court later designates the

Identified Materials as not privileged or not protected.

               (c)     The Identified Materials shall be deleted from any systems used to house

the documents, including document review databases, e-rooms and any other location that stores

the documents. The receiving party may make no use of the Identified Materials during any

aspect of this matter or any other matter, including in depositions or at trial, unless the documents

have been designated by a court as not privileged or not protected.

               (d)     The contents of the Identified Materials shall not be disclosed to anyone

who was not already aware of the contents before the producing party’s notification of the

Identified Materials for clawback. The receiving party must take reasonable steps to retrieve the

Identified Materials if the receiving party disclosed the Identified Materials before being notified

of their clawback.

               (e)     If any receiving party is in receipt of a document from a producing party

which the receiving party has reason to believe is privileged, the receiving party shall in good faith

take reasonable steps to promptly notify the producing party of the production of that document

so that the producing party may make a determination of whether it wishes to have the document

returned or destroyed pursuant to this Protective Order.

               (f)     A receiving party that is required to return or destroy the Identified

Materials may move the court for an order compelling production of some or all of the Identified

Materials that were returned or destroyed, but the basis for such motion may not be the fact or

circumstances of the production. Before filing any such motion, the parties must meaningfully

meet and confer.


                                                  8
         Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 9 of 13




                (g)     The disclosure of Identified Materials in this action is not a waiver of the

attorney-client privilege, work product doctrine or any other asserted privilege in any other federal

or state proceeding, pursuant to Rule 502(d), Federal Rules of Evidence.

          10.   Using Confidential Documents or Information at Trial or Hearing. Nothing

in this Order will be construed to affect the use of any document, material, or information at any

trial or hearing. A party that intends to present or anticipates that another party may present

Confidential Information at a hearing or trial must bring that issue to the attention of the court and

the other parties without disclosing the Confidential Information. The court may thereafter make

such orders as are necessary to govern the use of such documents or information at the hearing or

trial.

          11.   Obligations on Conclusion of Litigation.

                (a)     Order Remains in Effect.          Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion of the

litigation.

                (b)     Returning Confidential Documents. Within 30 days after this litigation

concludes by settlement, final judgment, or final order, including all appeals, all documents

designated as containing Confidential Information, including copies as defined above, must be

returned to the party who previously produced the document unless: (1) the document has been

offered into evidence or filed without restriction as to disclosure; (2) the parties agree to destruction

of the document to the extent practicable in lieu of return; 2 or (3) as to documents bearing the


          2
          The parties may choose to agree that the receiving party must destroy documents
containing Confidential Information and certify the fact of destruction, and that the receiving party
is not required to locate, isolate, and return e-mails (including attachments to e-mails) that may

                                                   9
     Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 10 of 13




notations, summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so.

               (c)    Retaining Work Product. Notwithstanding the above requirements to

return or destroy documents, counsel may retain attorney work product, including an index that

refers or relates to designated Confidential Information, so long as that work product does not

duplicate verbatim substantial portions of the text or images of designated documents. This work

product will continue to be confidential under this Order. An attorney may use his or her own

work product in subsequent litigation provided that its use does not disclose Confidential

Information.

       12.     Modification. This Order may be modified by the court on its own motion or on

motion of any party or any other person with standing concerning the subject matter. The Order

must not, however, be modified until the parties have been given notice and an opportunity to be

heard on the proposed modification.

       13.     Enforcement. Even after the final disposition of this case, a party or any other

person with standing concerning the subject matter may file a motion to seek leave to reopen the

case for the limited purpose of enforcing or modifying the provisions of this Order.

       14.     No Prior Judicial Determination. This Order is entered based on the parties’

representations and agreements for the purpose of facilitating discovery. Nothing in this Order

will be construed or presented as a judicial determination that any document or material designated




include Confidential Information, Confidential Information contained in deposition transcripts, or
Confidential Information contained in draft or final expert reports.

                                                10
     Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 11 of 13




as Confidential Information by counsel or the parties is entitled to protection under Fed. R. Civ. P.

26(c) or otherwise until such time as the court may rule on a specific document or issue.

         15.    Persons Bound. This Order will take effect when entered and is binding upon all

counsel of record and their law firms, the parties, and persons made subject to this Order by its

terms.

         16.    Applicability to Parties Later Joined. If additional persons or entities become

parties to this lawsuit, they must not be given access to any Confidential Information until they

execute and file their written agreement to be bound by the provisions of this Order.

         17.    Protections Extended to Third-Party’s Confidential Information. The parties

agree to extend the provisions of this Protective Order to Confidential Information produced in

this case by third parties, if timely requested by the third party.

         18.    Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as Confidential

Information, the receiving party must so notify the designating party, in writing, immediately and

in no event more than three business days after receiving the subpoena or order. Such notification

must include a copy of the subpoena or court order.

         The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order, and deliver a copy of this Order promptly to the

party in the other action that caused the subpoena to issue.




                                                  11
     Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 12 of 13




       The purpose of imposing these duties is to alert the interested persons to the existence of

this Order and to afford the designating party in this case an opportunity to try to protect its

Confidential Information in the court from which the subpoena or order issued. The designating

party bears the burden and the expense of seeking protection in that court of its Confidential

Information, and nothing in these provisions should be construed as authorizing or encouraging a

receiving party in this action to disobey a lawful directive from another court. The obligations

set forth in this paragraph remain in effect while the party has in its possession, custody, or control

Confidential Information designated by the other party to this case.

       IT IS SO ORDERED.

       Dated: September 13, 2022, at Kansas City, Kansas.


                                                               s/ Angel D. Mitchell
                                                               Angel D. Mitchell
                                                               U.S. Magistrate Judge




                                                  12
     Case 2:22-cv-02191-HLT-ADM Document 17 Filed 09/13/22 Page 13 of 13




                                       ATTACHMENT A

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Protective Order, attached

hereto and dated September 13, 2022 in the case captioned Ashley Lewis, M.D. v. University of

Kansas, School of Medicine (Case No. 2:22-cv-02191), understands the terms thereof, and agrees

to be bound by its terms. The undersigned submits to the jurisdiction of the United States District

Court for the District of Kansas in matters relating to this Protective Order and understands that

the terms of the Protective Order obligate him/her to use materials designated as Confidential

Information in accordance with the order solely for the purposes of the above-captioned action,

and not to disclose any such Confidential Information to any other person, firm, or concern, except

in accordance with the provisions of the Protective Order.

        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:                         ______________________________________

Job Title:                    ______________________________________

Employer:                     ______________________________________

Business Address:             ______________________________________

                              ______________________________________

Date: _____________           ______________________________________
                                    Signature
